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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

SOUTHERN DIVISION
DISH NETWORK L.L.C., )

) Case No.
9601 South Meridian Blvd. )
Englewood, Colorado 80112 )
)
Plaintiff, )
v. )
)
DIMA FURNITURE INC., d/b/a Spider-TV, )
)
7681 New Hampshire Avenue )
Takoma Park, Maryland 20912 )
Montgomery County )
)
MOHAMMAD YUSIF, individually )
and d/b/a Spider-TV, )
)
12026 Twin Cedar Lane )
Bowie, Maryland 20715 )
Prince George’s County )
)
Defendants. )
)

COMPLAINT

Plaintiff DISH Network L.L.C. (“DISH”) brings this suit against Defendants Dima
Furniture Inc. and Mohammad Yusif, individually and collectively d/b/a Spider-TV (collectively,
“Defendants”), and states as follows:

Nature of the Action

1. DISH brings this suit for copyright infringement because Defendants are capturing
broadcasts of television channels exclusively licensed to DISH and are unlawfully retransmitting
these channels over the Internet to their customers throughout the United States, 24 hours per day,
7 days per week. Defendants profit from the scheme by selling set-top boxes and corresponding
service plans to access the unlawful retransmission of television channels, and charge

approximately $ 199 per unit including a thirteen month service plan. Defendants are not authorized

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by DISH to retransmit these channels, and DISH has not received any compensation from
Defendants. Defendants continue to infringe DISH’s copyrights despite receiving numerous
demands to cease retransmitting the channels, demonstrating the Willfulness of their copyright
infringement

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2. Plaintiff DISH Network L.L.C. is a limited liability company organized under the
laws of the State of Colorado, with its principal place of business located at 9601 South Meridian
Blvd., Englewood, Colorado 80112.

3. Defendant Dima Furniture Inc., d/b/a Spider-TV (“Dima”) is a Maryland
corporation, registration number D13257209, with its principal place of business located at 7681
New Hampshire Avenue, Takoma Park, Maryland 20912.

4. Defendant Mohammad Yusif (“Yusif’) is a natural person that resides at 12026
Twin Cedar Lane, Bowie, Maryland 20715. Upon information and belief, Yusif is the president,
executive director, general manager, and sole shareholder of Dima. Upon information and belief,
Yusif authorized, controlled, participated in, and received direct financial benefits from the
infringing activities of Dima.

5. Upon information and belief, each of the Defendants Was the agent and/or principal
for one another, was acting within the scope of such agency when engaging in the misconduct
alleged herein, and is jointly and severally liable for all damages arising as a result thereof.

Jurisdiction and Venue
6. DISH asserts claims under the Copyright Act, 17 U.S.C. § 101 et seq. This Court

has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338.

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7. Defendants reside in and conduct business in the State of Maryland, and therefore
are subject to this Court’s personal jurisdiction

8. Venue is appropriate in this Court under 28 U.S.C. § 1391(b)(1) because Defendants
reside in this judicial district, § 1391(b)(2) because a substantial part of the events giving rise to
DISH’s claims occurred in this judicial district, and § l391(b)(3) because Defendants are subject
to personal jurisdiction in this judicial district. Venue is also proper in this Court under 28 U.S.C.
§ 1400(a) because the case involves violations of the Copyright Act.

DISH’s Copyrights

9. DISH is the fourth largest pay-television provider in the United States and delivers
copyrighted programming to millions of subscribers nationwide by means of satellite delivery and
over-the-top (“OTT”) services Whereby programming is delivered using a public lnternet
infrastructure. DISH’s subscribers enjoy access to hundreds of video and audio channels, including
a diverse line-up of international channels.

10. DISH contracts for and purchases rights for the international channels distributed on
its platform from networks and their agents, including MBC FZ LLC, Intemational Media
Distribution (Luxembourg) S.A.R.L., World Span Media Consulting, Inc., Peninsula Production
Company, and Dream Media (collectively, the “Networks”). Networks’ Arabic-language channels,
which are also distributed abroad, include Al Arabiya, Al Hayah 1, Al Jazeera Arabic News, Al
Jazeera Mubasher, Al Nahar, Al Nahar Drama, Al Nahar Sport, ART Cinema, Dream 2, Future TV,
Hekayat, lqraa, LBC, LDC, MBCl, MBC Drama, MBC Kids (a/k/a MBC3), MBC Masr, Murr TV
(aka MTV Lebanon), NBN, New TV (a/k/a Al Jadeed), Noursat, ONTV, and OTV (collectively,
the “Protected Channels”). Networks acquire copyrights in the works that air on their respective

channels, including by producing the works and by assignment

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l 1. DISH entered into signed, written agreements with Networks, which were in effect
at all relevant times and are currently in effect, granting DISH the exclusive right to distribute and
publicly perform the works that air on the Protected Channels in the United States by means
including satellite, OTT, lnternet protocol television (“IPTV”), and lnternet. Eight or more works
that aired on the Protected Channels and have or will have registrations pending With the United
States Copyright Office include episodes of News Bulletin, Hashtag, Sada Al Malaeb, Bab Al Hara,
Chef Hassan, and Tasali Ahla Alam. A vast number of additional, unregistered copyrighted works
also aired on the Protected Channels.

Defendants’ Copyright Infringement

12. Upon information and belief, Defendants own and operate a streaming television
service (“the Service”). Defendants at times refer to the Service as “Spider-TV,” and may use other
names or labels to refer to the Service. Upon information and belief, Yusif is the founder of Dima
and together they established the Service. On July 8, 2015, Yusif registered “Spider-TV” as a trade
name of Dima with the State of Maryland Department of Assessments and Taxation Charter
Division, describing the business as “Television Channel Installation.” Upon information and
belief, Defendants each play a role in the operation and distribution of the Service.

13. Defendants are unlawfully retransmitting the Protected Channels to their customers
in the United States through the Service. The Protected Channels were observed during testing of
the Service.

14. Defendants retransmit the Protected Channels over the lnternet to users after the
original authorized transmission Upon information and belief, Defendants capture live broadcast
signals of the Protected Channels, transcode these signals into a format useful for streaming over

the Internet, transfer the transcoded content to one or more servers provided, controlled, and

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maintained by Defendants, and then transmit the Protected Channels to users of the Service through
OTT delivery, including users in the United States.

15. For instance, Defendants made a post on their Facebook page located at
https://www.facebook.com/pg/Spider-IPTV-l630755640489251/posts claiming “Spider servers
have been developed so that the number of channels is more than 1300 stations that guarantee all

Arab and World stations.”

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Spider servers have been developed eo that the number of channele is
more than 1300 Statione that guarantee all Arab and world etatione from
all the countries of the wodcl and in all languagee.
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Spicler-'l'\f working group
Thank you

16. Defendants also made a post on their Facebook page responding to concerns that the
Protected Channels would be removed from the Service in the United States, claiming “the device

is guaranteed for a year and for us two years in the American market and all channels are working”

and “we are in Europe and America and We are well known for the stations.”

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17. Upon information and belief, Defendants own the official website for the Service
located at www.spider-tv.com (“Spider-tv.com”). The Spider-tv.com “About Us” page states
“Spider TV is an American company located in Maryland.” It also explains why consumers should
purchase the Service claiming they offer the most watched Arabic channels to the Arab community
in the United States, bring “most of the well known channels that no other provider has,” and offer

Time Shift technology allowing users to watch live TV when they want and skip commercials

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About Us

Who we are:
Spider TV is an American company located in Maryland, founded by experienced individuals who started in the Arabic IP‘l'V industry as resel|ers for the most well known
IPTV companies in the industry. Based on Our long experience we have seen and analyzed the issues consumers faced with option less alternatives .

When we first started in the IPTV arena, it was only one company that provided Arabic channels, at that time customers were happy to have Arabic channels they always
wanted to have in America then other companies came and started the same way the nrst one did hov.-ever, they kept the good service for not too |ong. while the amount of
customers increased they couldn't keep the same service that people enjoyed in the beginning . the problems boat to the surf when companies couldn‘t move fonNard with
technology and were unable to keep the same service they provided hrstly due to the huge increase in the amount of users. That was the time for us to bring consumers a
new product that carr eliminate all the issues that customers were facing.

IPTV is a huge moving forward industry and it changes rapidly however, what puts us ahead of our competitors is that we invest in skilled, talented individuals around the
globe who Can bring you the up to date technology and make entertainment better, more affordable and easy to access,

Why Us:

What makes Spider TV a leading company in the industry is that we offer the most watched Arabic channels with up to date technology such as Time shift, HD than nels,
Social Media and much more. We are the first to offer this huge amount of channels r'or the lowest price in the industry. We work on giving ourArab community in the U.S
the best entraintement they deserve by bringing the most watched Arab channels in the Arab world in HD. We bring you most of the well known channels that no other
provider has. Spider TV is one of the only entertainment providers with 24/7 live customer service. `\'ou can call us any time even Bam. We are confedent of our low rate that
you can‘t hnd any compnay that provides the same channels with the same quality for the same price. Or.rr service is unbearal:r|e espicaiywhen it comes to price and
quality.

No other T!ME SHIFT offers the benefits you'|l get with the Trme Shift we offer _the most advanced in the industry. Only the Spider TV Box has exclusive consumer-friendly
features so you can watch live TVanywhere‘ and instantly skip commercials.You shouldn‘t have to think too hard while relaxing, so wave designed Time Sl-iifts that are
known as the most customer-friendly in the business and theyjust keep getting better. Only the Spider TVg'rves you the ability to control the time of shows at once and
instann‘y skip commercia|s, making it the industry/s most technically advanced and consumer-friendry.

18. Any member of the public with lnternet access, including those located throughout
the United States, can receive Protected Channels from Defendants by simply purchasing the set-
top box.

19. Defendants sell the set-top boxes on Spider-tv.com for $199, which includes thirteen
months of access to the Service.

20. Upon information and belief, purchasers of Defendants’ set-top boxes Who want to
continue to receive the Protected Channels after the first thirteen months must purchase a twelve
month service plan extension from Defendants. Defendants sell these service plan extensions on
Spider-tv.com for $50, $100, or $140, depending on the number of channels

21. Protected Channels including Al Arabiya, Al Jazeera Arabic News, LBC, MBC

Kids/MBC3, and MBC Masr are advertised on Spider-tv.com.

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22. The Protected Channels are also identified on the user interface that viewers navigate
When accessing content on the Service. A video on Defendants’ Facebook page provides a
demonstration of the Service showing Protected Channels including ART Cinema, Hekayat,

MBCl, MBC Drama, MBC Kids/MBCB, and MBC Masr in the user interface.

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23. Defendants have actual knowledge that the retransmission of the Protected Channels
on the Service infringes DISH’s copyrights DISH and Networks sent at least thirty-two (32)
notices of infringement between January 20, 2017 and the filing of this Complaint, demanding that

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Defendants cease retransmitting the Protected Channels identified in the notices. Defendants did
not respond to any of these notices of infringement

24. DISH and Networks sent at least thirty-three (33) additional notices requesting the
removal of infringing content to lnternet service providers associated with the Service from
February 16, 2017 to the filing of this Complaint. Upon information and belief, at least some of
these notices were forwarded to Defendants. Even when these lnternet service providers removed
the unauthorized content based on Defendants’ copyright infringements, Defendants intentionally
interfered with the takedown efforts by, for example, transmitting Protected Channels from
different locations.

CLAIMS FOR RELIEF
M
Direct Copyright Infringement Under 17 U.S.C. § 501

25. DISH repeats and realleges the allegations in paragraphs 1-24.

26. Under 17 U.S.C. § 106, DISH holds the exclusive right to distribute and publicly
perform in the United States, by means including satellite, OTT, IPTV, and lnternet, the programs
shown on the Protected Channels.

27. The programs that make up the Protected Channels are original audiovisual works
fixed in a tangible medium of expression, and are therefore copyrightable subject matter. DISH’s
copyrights in these programs arise under laws of nations other than the United States that are parties
to copyright treaties with the United States, including the United Arab Emirates, Qatar, Egypt, and
Lebanon, where the programs were authored and first published. Under 17 U.S.C. §§ lOl, 411, the
programs that make up the Protected Channels are non-United States works and registration with
the United States Copyright Office is not a prerequisite to filing a copyright infringement action
with respect to these works.

28. Defendants distribute and publicly perform the copyrighted programs that air on the

Protected Channels to customers throughout the United States, including through the use of the

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Service, in violation of DISH’s exclusive rights under 17 U.S.C. § 106. DISH has not authorized
Defendants to distribute or publicly perform these programs in any manner.

29. Defendants are directly infringing DISH’s copyrights in violation of 17 U.S.C. §
501. Each infringement of DISH’s rights in each audiovisual work constitutes a separate and
distinct act of copyright infringement

30. Defendants’ acts are willful, malicious, intentional, purposeful, and in disregard of
and with indifference to the rights of DISH.

31. Unless enjoined by the Court, Defendants will continue to engage in acts causing
substantial and irreparable injury to DISH that includes damage to its reputation, goodwill, and lost
sales, for which there is no adequate remedy at law.

PRAYER FOR RELIEF

WHEREFORE, DISH prays for judgment against Defendants as follows:

A. For a grant of permanent injunctive relief under 17 U.S.C. § 502 restraining and
enjoining Defendants, and any of their officers, agents, servants, employees, attorneys, or other
persons acting in active concert or participation with any of the foregoing that receives actual notice
of the order, from:

1. retransmitting, streaming, distributing, or publicly performing in the United
States, by means of the Service or any other device or process, the Protected Channels or the
programming that comprises the Protected Channels;

2. distributing, providing, or promoting any product or service, including set-
top boxes or the Service, that comprises the whole or part of a network or service for the
distribution or public performance of the Protected Channels or the programming that comprises
the Protected Channels; and

3. advertising, displaying, or marketing the Service or set-top boxes in
connection with the Protected Channels or the programming that comprises the Protected

Channels.

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B. For infringement of registered works, maximum statutory damages of $150,000 per
registered work infringed under 17 U.S.C. § 504(0), or alternatively DISH’s actual damages and
the profits of Defendants that are attributable to the violations alleged herein of those registered
works pursuant to 17 U.S.C. § 504(b).

C. For infringement of unregistered Works, an award of DISH’s actual damages and the
profits of Defendants that are attributable to the violations alleged herein of each unregistered work
pursuant to 17 U.S.C. § 504(b).

D. For DISH’s attorneys’ fees and costs under 17 U.S.C. § 505.

E. For impoundment and disposition of all infringing articles under 17 U.S.C. § 503.

F. For pre- and post-judgment interest on all monetary relief, from the earliest date
permitted by law at the maximum rate permitted by law.

G. For such additional relief as the Court deems just and equitable.

Dated: December 29, 2017 Respectfully submitted,

@WMBC*

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